Case 2:10-md-02179-CJB-DPC Document 25850-1 Filed 07/08/19 Page 1 of 89

EXHIBIT 1: Cases the Court Intends to Close (Listed Alphabetically)

Production Inc., et al.

No. Case Name Docket # Pro Se Plaintiff(s) in this Case?
‘1067 Marcs Marine, LLC v. BPXP et al. 16-04796
1068 Marevic, Tonci v. BPXP et al. 16-04854
1069 Margaret Edwards v. BPXP, inc., et al 13-01645
1070 Marin, George v BPXP, inc., et al. 13-02102
1071 Marina Developers of West Florida, Inc. v. BP p.l.c., et 16-07142
1072 Marina Jack, Inc. v. BPXP, Inc. et. al. 13-02946
1073 Marine Distributors, Inc. v. BPXP, Inc. et al. 13-01328
1074 Mark Canfora investments, et al. v. BP Exploration & 16-06280
Production Inc., et al.
1075 Markusich, Jefferson L. v. BPXP Inc., et al. 13-02346
1076 Marshall, William il! v. BPXP et al. 16-03881
1077 Martin Midstream Partners, LP v. BPXP, Inc., et al 13-01254
1078 Martin Resource Management Corporation v. BPXP, 13-01261
Inc., et al
1079 Martin, Jesse T. v. BPXP Inc., et al. 13-02730
1080 Martin, Mike, et al. v. BPXP, et al. 16-03913
1081 Martin, Thomas Todd Ill v. BPXP, Inc., et al 13-02250
1082 Martins, Marina v. BP Exploration & Production Inc., 16-06147
: et al.
1083 Mary Walker Real Property Co. v. BPXP Inc., et al. 13-05375
1084 Masari Unlimited, LLC v. BP p.l.c., et al. 16-07146
1085 Mast Production, LLC, et al. v. BP Exploration & 14-00358 Pro Se Plaintiff(s)
Production Inc., et al.
1086 Matherne, Jr., Louis v. BPXP, Inc. et al. 13-01206
1087 Matranga, Joseph, et al v. BP plc, et al 11-00237
1088 | Matsil, Leon v. BP Exploration & Production Inc., et al. 16-06285
1089 Mayfield, Richard E. et al. v. BPA et al. 12-01029
1090 Mayport C & C Fisheries, Inc. v. BPXP Inc., et al. 13-02341
1091 Mcabee, Mary Lou v. BPXP, Inc. et al. 16-07398
1092 McAlister, Zolan v. BPXP et al. 16-06757
1093 McBride, Donald v. BPXP et al. 16-06270
1094 McBride, John v. BPXP, Inc. et. al. 13-01379
1095 McBride, Richard v. BP Deepwater Horizon, et al. 16-15253 Pro Se Plaintiff(s)
1096 McDonald, Lionel L. v. BPXP, Inc. et. al. 13-01740
1097 McDonald, Travis W. v. BPXP Inc., et al. 13-02690
1098 McGriff, Elizabeth v. BPXP, inc., et al. 13-02115
1099 McGuire Oil Company, Inc. v. BPXP, Inc. et. al. 13-01244
1100 Mcinnis Bay Properties, LLC, et al. v. BP Exploration & 13-02292

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Case 2:10-md-02179-CJB-DPC Document 25850-1 Filed 07/08/19 Page 2 of 89

UNITED STATES DISTRICT COURT

for the
Eastem District of Louisiana
ic Bride
plaintiff(s)
Vv.
Bp America, inc Civil Action No. 18¢v-11190J(2)

Through its agent for service of process
Ct corporation system
5615 corporate bivd.,suite 400B

Defendant(s)
TO: (Defendant's name and address)
Bp Ametica,Inc
Through its agent for service of process
Ct corporation system
5615 corporate blivd.,suite 400B
Baron Rouge,LA.70802-6129

Motion For Entry Of Default Judgement

The plaintiff Richard McBride Requests That Entry Of Judgement By Default Be
Entered Against Defendant . 8.P America INC ET.AT Federal rule of civil procedure 55
(A) (B) In support of this request plaintiff relies on the record in this case and the
Affidavit submitted herein complaint. The amount request is 2,000,000,00 Two Million
Dollar relies.

. Richard McBride
4318 dovan st
Moss Point,Ms
39563
228-369-5534

Case 2:10-md-02179-CJB-DPC Document 25850-1 Filed 07/08/19 Page 3 of 89

Affidavit |

4. The date served the summons and complaint 1-31-2019 u.s. postal service certified mail

2. The date the answer was due,3-3-2019 none was served to the plaintiff Richard McBride, In time

allowed 4318 donovan street Moss Point MS 39563

The date default was entered request Judgement 4-24-2019

The defendant is not currently in the active military service.

In complaint the plaintiff sought two million dollar money damage

The defendant B.P.american etal ,have failed to plead or defend . in this action, to this day

| Had the U.S. Marshall service eastern district of louisiana try to serve the summon and

complaint but fail 2 times trying to do so.

8. The plaintiff Richard McBride Having filed a proper motion and affidavit In accordance with
federal rule of civil procedure rule 55 and (A)(B) Judgement is Hereby Entered In Favor of plaintiff
Richard McBride The amount request is 2,000,000,00 Two Million Dollar relies.

Dated. This The Be Day of April.2019 (i jy AWE
f

ichard McBride
Sworn to and Subscribed. This The day of April,2019

My Commission Expires; Site Deiter

NOOO w

Nov. 20,2020 Notary Pub wpe HlSSise..
” pv -
Case 2:10-md-02179-CJB-DPC Document 25850-1 Filed 07/08/19 Page 4 of 89

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig *
“Deepwater Horizon” in the Gulf of MDL 2179
Mexico, on April 20, 2010 *
SECTION: J(2)
This Document Relates To: *
JUDGE BARBIER
All Cases *
MAG. JUDGE WILKINSON
*

NOTICE OF COURT'S INTENT TO CLOSE CASES
AND ORDER TO SHOW CAUSE

The Court understands that all claims asserted in the cases listed on Exhibit 1
attached hereto have been resolved—in most instances through settlement but
occasionally by other means—and there are no viable claims remaining in litigation.
However, these cases still appear to be open, if only as a technical matter, on the
Court’s docket. Accordingly, the Court hereby gives notice of its intent to issue an

Order instructing the Clerk of Court to CLOSE each of the 1835 cases listed on

Exhibit 1. Any party who believes its case should not be closed shall file by

July 8, 2019 a written response explaining why its case should not be closed.! .

If a party believes its case should not be closed for the reason that it has an
unresolved claim in litigation for punitive damages against Transocean or
Halliburton (as opposed to an unresolved claim with the Halliburton/Transocean
Punitive Damages & Assigned Claims Settlement Program), that party should

explain, perhaps in addition to other things, why that claim in litigation is not barred

1 Responses should be filed in the MDL 2179 master docket (10-md-2179), not in the individual docket
for a member case.

a
Case 2:10-md-02179-CJB-DPC Document 25850-1 Filed 07/08/19 Page 5 of 89

by the class-wide releases found in the Transocean and Halliburton Punitive
Damages and Assigned Claims Settlement Agreements (Rec. Docs. 15332, 14644) and
the Court's Final Order and Judgment approving same (Rec. Doc. 222538).

New Orleans, Louisiana, this 24th day of June, 2019

(1

United “7 Dictet Judge

Note: The attached Exhibit 1 identifies cases that contain one or more pro
se (unrepresented) plaintiffs. The Clerk shall mail a copy of this Notice and
the relevant page of Exhibit 1 (or all of Exhibit 1, if easier) to each pro se
plaintiff. If a pro se plaintiff was previously represented by an attorney who
failed to provide the Court with an address for the former client upon the
attorney’s withdrawal, the Clerk shall mail the Notice and Exhibit 1 to the
attorney, who shall immediately forward same to the last known address of
the former client. The attorney shall also provide the Court with the last
known address for the former client.
Case 2:10-md-02179-CJB-DPC Document 25850-1 Filed 07/08/19 Page 6 of 89

AO 440 (Rev. 06/12) Summons ina Civil Action

——— ar ——— a ent
UNITED STATES DISTRICT COURT

for the
Eastern District of Louisiana

Richa cel Mer icke

Plaintiff(s)
Vv.
P America, Une,

)
)
)
)
2 @
> , Civil Action No. \GZCV~- WAGO S Q)
)
Thhrnougin ivTs iovertt. Far Servi CX)
oO Ree.
)
)

Defendant(s)

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)
Avner! ca ine.

“a

“hnfcugh Ts: Go entfor Service O€ Process

CY Corporation 3
Sets Co portion = eh Suite HCO’

Bake a ouge, LA. TOv0a~ lo VG

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT
WNWISING 1
pate: _\* U- WIA #0 LOWASIO NBSLSY3 xy
20:4 Wd H- NUE S102 [ Spevorter ame cet

WHSEWH SINS CFLIRP
O3Ai2038
Case 2:10-md-02179-CJB-DPC Document 25850-1""Filéd'07/08/19" Page 7 of 89---

’ 1

AO 440 Rev. O6/12) Summons in a Civil Action (Page 2)

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed, R. Civ. P. 4 ())

This summons for (name of individual and title, if any)
was received by me on (date)

© I personally served the summons on the individual at (lace)
On (date) 3 OF

C3 T left the summons at the individual’s residence or usual place of abode with (name)
» 4 person of suitable age and discretion who resides there,

On (date) » and mailed a copy to the individual’ S last known address; or

A ain nt
OFT served the summons on (name of individual CE Carpe ete . fines ‘ator, whois

designated by law to accept service of process on behalf of (name . of organization) ouge, LM 10%
On (date) {| —~“A(— Aoi; or
CO) I returned the summons unexecuted because ' 3 or

O Other (specify):

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true,

Date: “A —U~ “AO{ Ry Ruendiae M. MCB nicl

Server's signature

“Plone tne uy. attend

Printed name and title

4318 Donovan Sy. Moss locat Ms.
Server's address 345,43

Additional information tegarding attempted service, etc
Case 2:10-md-02179-CJB-DPC Document 25850-1 Filed 07/08/19 Page 8 of 89

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Tncludes up to $50 insurance

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Standard Message and Data rates may
apply. You may also visit wwy.usps Com
HweDe Trar

kins ar call 1-800-222-1811.
Case 2:10-md-02179-CJB-DPC Document 25850-1 Filed 07/08/19 “Page 9 of 89 .
Case 2:18-cv-11190-CJB-JCW Document3 Filed 11/26/18 Page 1of1

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

RICHARD MCBRIDE CIVIL ACTION

VERSUS NO. 18-11190

B.P. OIL SPILL SECTION "J" (2)
ORDER

Considering the application and affidavit to proceed in forma pauperis,

IT IS ORDERED that:
the motion is GRANTED; the party is entitled to proceed in forma pauperis.
the motion is MOOT; the party was previously granted pauper status.

the motion is DENIED; the party has sufficient funds to pay the filing fee.

UU U*

the motion is DENIED; the party is not entitled to proceed in forma pauperis for the listed
reasons:

New Orleans, Louisiana, this 26th day of November, 2018.

JOSEPH C. WILKINSON, JR.
UNITED STATES MAGISTRATE JUDGE

Case 2:10-md-02179-CJB-DPC pam 25850-1 Filed 07/08/19 Page 10 of 89

bb

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

OFFICE OF THE CLERK
WILLIAM W. BLEVINS 500 PoYDRAS ST., ROOM C-151
CLERK NEW ORLEANS, LA 70130
November 27, 2018
TO: Richard McBride RE: CA: 18-cv-11190 J(2)
4318 Donovan Street
Moss Point, MS 39563

The application to proceed in forma pauperis pursuant to Title 28, USC, Section 1915, in the
above-captioned action has been granted by the Court.

Rule 4 of the Federal Rules of Civil Procedure provides for service of the summons and complaint
by the United States Marshal at the request of a party permitted to proceed in forma pauperis. If
you wish to have service effected by the U. S. Marshal, you must furnish the enclosed certified
copy of the Court’s Order granting leave to proceed in forma pauperis along with a completed
summons, USM Form 285 and a copy of the complaint for each defendant to be served.

The USM 285 Forms can be obtained from the U. §. Marshal’s Office at the address listed below:

500 Poydras Street
Hale Boggs Federal Building, Room B724
New Orleans, Louisiana 70130

Forward the completed summon(s), complaint(s) and USM 285 Form(s) and the certified copy of
the Pauper Order to the U.S. Marshal’s Office, 500 Poydras Street, Hale Boggs Federal Building,
Rm. B724, New Orleans, Louisiana 70130.

William W. Blevins
Clerk, . District Court

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Case 2:10-md-02179-CJB-DPC Document 25850-1 Filed 07/08/19 Page 11 of 89

U.S. Department of Justice ‘PROCESS RECEIPT AND RETURN Lee
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I. (2) PLAINTIFFS DEFENDANTS
RICHARD MCBRIDE BP J
(b) County of Residence of First Listed Plaintiff County of Residence of First Listed Defendant
{EXCEPT IN U.S. PLAINTIFF CASES} (IN US. PLAINTIFF CASES ONLY)
NOTE: IN LAND CONDEMN.
BLA COND ATION cose CASES, USE THE LOCATICN OF
(c) Attorneys (Finn Name, Address, and Telephone Number} Attomeys (i Known)
SECT. JMAG.2

I BASIS OF JURISDICTION (Ptace an “x* in One Bax Only) Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" ia One Box for Plaintiff

Diversit
1 US. Government B33 Federal Question (Fer Diveraty Cares Onl op DEF and One Bas for Defendant
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Defendant (indicate Citizenship of Parttes in ttem It) of Business In Aavitee Stns’ Oo a
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(3120 Marine OC 310 Airplane CJ 365 Personal Injury + of Property 21 USC 881 | (1) 423 Withdrawal [) 376 Qui Tam (31 USC
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(77150 Recovery of Overpayment | (1) 320 Assault, Libel & Pharmaceutical I (J 420 Artist
& Enforcement of Judgment Stander Personal Injury Co #20 Copnisis (C1 430 Banks and Banking
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of Veteran's Benefits C1 30 Moter Vehicle (1) 370 Other Frand [-] 862 Black Lung (923) 490 Cable/Sa TV
£7) 160 Stockholders’ Suits (] 355 Motor Vehicle (2 371 Truth in Lending C1720 (sporftdanagement (963 pIwcpiww (405(g)) |) 850 Securities‘Commoditics’
(190 Other Contract Product Liability [2] 380 Other Personal Relations [2] 864 SSID Tittle XVI Exchange
(21 195 Contract Product Liability 1(7] 360 Other Personal Property Damage (21740 Railway Labor Act (18655 RSI (405(g)) 6 890 Other Statutory Actions
0196 Franchise Injury D 385 Property Damage (1751 Famtily and Medical () 891 Agricutnoal Acts
Oo 362 Personal Injury « Product Lisbility Leave Act (1) 893 Environmental Matters
£3790 Other Labor Litigation () 895 Freedom of Information
Tene ceaege bree seal TEHTSES a PRISONERERIT ERERUTIONS </01791 Employes Retirement KEDER FSURT SI. Ast
ca 210 oad Contemnat on CJ 440 Other Civil Rights Habeas Corpus: Income Security Act 2) 896 Arbitration
1220 Forectesure O01 441 Voting (7 463 Alien Detsinee [} 899 Administrative Procedure
1230 Rent Lease & Ejectment | (] 442 Employment [2] $50 Motions to Vacate Act Review or Appeal of
£1240 Tors to Land £1] 443 Housing/ Sentenee 26 USC 7609 Agency Decision
(3245 Tort Product Liability Accommodations {[[ $30 General 1 950 Conztitutionality of
(3250 All Other Real Property CO 445 Amer. w/Disabilities 10] $35 Death Penalty pes A ef R ONS State Statutes
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VI. CAUSE OF
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VIII. RELATED CASE(S)
IF ANY (See insirections)’ UGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

Case 2:10-md-02179-CJB-DPC Document 25850-1 Filed 07/08/19 Page 13 of 89

ey «@ase 9:18-cv-11190-CJB-JCW Document 1-2 Filed 11/16/18 Page 1 of 21
Case 2'10-md-02179-CJB-SS Document 16050-3 Filed 03/29/16 Page 1 of 1

EXHIBIT C

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

In Re: Off Spill by the Oil Rig * MDL 2179 1 8 = 1 1 1 990

“Deepwater Horizon” in the Gulf
of Muxico, on April 20, 2010 “ SECTION: J SECT. JR AG. ?
* JUDGE BARBIER
This Document Relates To:
Pleading Bundle B1 * MAG. JUDGE SHUSHAN
[PLAINTIFF] (Li lj * CIVIL ACTION No._____
VERSUS * SECTION J
(DEFENDANT(S)} * JUDGE BARBIER
HUSHAN
Om Xm L * MAG. JUDGE S
COMPLAINT

[NOTE: Use this forin of caption when filing a.now individual lawsuit, The civil action number
will be assigned by the Clerk of Court].
Cc :18-cv-
ase 2:18-cv-11190-CJB-JCW Document 1-2 Filed 11/16/18 Page 2 of 21

IN THE UNITED STATES DISTRICT COURT EASTERN DISTRIST OF
LOUISIANA
IN RE; OIL SPILL BY THE OIL RIG MDL, 2179
DEEPWATER HORIZON IN THE GULF SECTION; S{2]
OF MEXICO, ON APRIL 20,2010 JUDGE BARBIER
MAG,JUDGE WILKINSON

THIS DOCUMENT RELATES TO

NO. 12-970 .ORDER

RICHARD MCBRIDE / g- ey-// NGO - O- (: 2 )

VERSE CASE NO,
B,P, OIL SPILL DEFENDANT
COMPLAINT AND SWORN STATEMENT.
NO, 12-970. ORDER
PTO, 60. [REC. DOC.16050} AND INDIVIDUAL COMPLAINT.SWORN STATEMENT
iNCOMPLIES.
DISMISSED,

IN THE INTEREST OF JUSTICE, INVOLVED, SHOULD NOT, BE,
Case 2:10-md- -
md-02179-CJB-DPC Document 25850-1 Filed 07/08/19 Page 15 of 89

Case 2:18-cv-11190-CJB-JCW Document 1-2 Filed 11/16/18 Page 3 of 21

COME, NOW THE PLAINTIFF RICHARD MCBRIDE ,WILL SHOW THIS HONORABLE,COURT,
IN GOOD FAITH BELIEVED THAT PLAINTIFF HAVE COMPLIED WITH THE REQUIREMENT

OF PTO,60 AND PTO,64, 8-3 CLAIMS , PLAINTIFF ISA MEMBER OF OLD CLASS AND
MEMBER NEW CLASS , HAVE MULTIDISTRICT FILE LITIGATIONTO COURT,

SEPARATE PLEADING FOR DIFFERENT CATEGORIES OF CLAIMS LAWSUIT INDIVIDUAL

COMPLAINT,UNDER THE MORATORIA HOLD OPT,OUT ORDER,AND SWORN
STATEMENTS, | HAVE NOT, RELEASED MY CLAIM. GENERAL MARITIME LAWSUE CLAIMS

PROPERTLY DAMAGECLAIM'S, OIL POLLUTION ACT OF 1990{OPA) 33 U, S, ¢, 2701,
CONTRACT CLAIM'S, PERSONANL INJURY MEDICAL CLAIM'S,

BP HAVE FAILED TO SETTLEMENT CLASS COUNSEL HAVE FAILED TO SETTEMENT.IN
EIGHT [8 ] YEARS ALL RICHARD MCBRIDE CASE IS UNRESOLVABLE IMPASSE. HAS NOT
BEEN RESOLVED TO DATE/

1

NOTED, MUST BE NOTED THE PLAINTIFF DON'T HAVE ELECTRONICE, FILING WITH
COURT, ONLY, BY PAPER; PLAINTIFF HAVE NOT RECEIVED FROM 8,P,0iL SPILL, ANY,

SUBMISSIONS BY, THEY, COUNSEL FOR B,P, NO REPLY, ACCORDINGLY TO THE EXTENT

THAT PLAINTIFF, BP SUBMITTED IN , OR CLAIMS ADMINISTRATOR , THE PLAINTIFF,
REQUEST THAT THIS HONORABLE, COURT PLEASE , ORDER 8,P, OIL SPILL. AND
COUNSEL, CLAIMS ADMINIST! RATOR ;PLEASE MAIL,A COPY OF ALL SUBMISSONS; TO

THE PLAINTIFF AT; 4318 DONOVAN, STREET MOSS POINT
MISSISSIPPI, 39563, PLEASE; 1-228-369-5534.

2
THIS HONORABLE ; THE PLAINTIFF IS NOT REPRESENTED BY , AN

ATTORNEY; THE PLAINTIFF WILL FULL PROSECUT, THIS CASE IN
COURT OF LAW, TO FILE IT'S O
Case 2:10-md-02179-C
-CJB-DPC Docu
ment 25850-1 Filed 07/08/19 Page 16 of 89
Case 2:18-cv-11190-CJB-JCW Document 1-2 Filed 11/16/18 Page 4 of 21

JURISDITION

THE UNITED STATES DISTRIST COURT EASTERN DISTRIST OF LOUISANA HAS
JURISDICTION OVER THIS CASE UNDER THE OIL POLLUTION ACT,

UNDER THE CLEAN WATER ACT. SECTION 2701-SECTION 2702 DEEPWATER HORIZON
OIL RIG OFF THE COAST OF LOUISIANA AN EXPLOSION THAT KILLED [ 12 ] WORKER AND
CAUSED THE MASSIVE B. P.OIL SPILL IN APRIL.20. 2010. AND ECT

THE PLAINTIFF WILL PROVE BEYOND A REASONABLE DOUBT. ALL PLAINTIFF IOSSES
CAUSED BY B. P. OIL SPILL. DEFENDANT WRONGFUL ACTS. AND GROSS NEGLIGENCE

BLOW OUT RIG . APRIL 20 2010, GULF OF MEXICO.

4
CAUSED

ON ABOUT APRIL .20. 2010. THE DEEPWATER HORIZON DRILLING RIG EXPLODED OFF
THE COAST OF LOUISIANA. IT ESTIMATED THAT ALMOSE FIVE MILLON BARRELS OF OIL

GUSHED FROM THE SEABED AND IN TO THE GULF OF MEXICO. AND MISSISSIPPI
ALABAMA. FLORIDA. AND TEXAS. GULF REGION. THE B.P. OIL SPILL KILLED (11)
WORKER IN THE EXPLOSION.

5

TRANSOCEAN. WHICH OWNED THE DEEPWATER HORIZON DRILLING RIG AND WHICH
WAS FOUND PARTIALLY LIABLE ROR THE 8 P OIL SPILL IN 2012. REPORT BY . THE
FEDERAL GOVERNMENT. THE U.N. STATE COST GUARD.

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Case 2:10-md-
md-02179-CJB-DPC Document 25850-1 Filed 07/08/19
mace D18-ov-4 Page 17 of 89
-18-cv-11190-CJB-JCW Document 1-2 Filed 11/16/18 Page 5 of 21

HALLIBURTON. THE WELL CONTRACTOR WHICH WAS FOUND PARTIALLY LIABLE IN THE B
P OIL SPILLIN 2011 REPORT . REPORT BY THE FEDERAL GOVERNMENT . THE U.S. COAST
GUARD. .

7

CAMERON INTERNATION THE COMPANT THAT MANUFACTURED THE UNDERWATER
WELL BLOWOUT PREVENTER. WHICH APPARENTIY FAILED TO FUNCTION AS PLANNED.
CAUSED THE DAMAGE

8

| PLAINTIFF WAS INJURY. AND DAMAGE BY. THE B,P. OIL SOILL CAUSED OF OIL SPILL
RIG EXPLOSION DEEPWATER HORIZON APRIL .20 .2010.AS A RESUIT OF THE B. P. OIL
SPILL RIG DIASTER . MY FINANCIAL LIVELIHOOD HAS SUFFERED. COMMERAL
FISHING.SHRIMP . BP OIL SPILL . GROSS NEGLIGENCE AND RECKLESS MISCONDUCT
CAUSED ALL PLAINTIFF DAMAGE. LOSS ENJOYMENT BREACH OF CONTRACT

9

AS THE RESULT OF B P OIL SPILL PLAINTIFF WAS INJURY AND DAMAGE py. LOSS OF
SUBSISTENCE USE NATURAL RESOURCES UNDER CLEAN WATER ACT, SETION .2701
.2702 . UNDER OIL POLLUTION ACT. AND WILE HUNTING . [OSS 8.9 ARCE WETLAND
OR FLOOD ZONE. AIR AND WATER POTENTIALLY TOXIC CHEMICAL HAVE BEEN USED
TO DISPERSE THE SPILLED OIL. UNDEVELOPED PROPERTY 66 19 GREGORY STREET MOSS
POINT .39563. LOSS ENJOYMEMT

10

AS A RESULT OF B P Olt SPILL PLAINTIFF WAS DAMAGE .BY. THE PLAINTIFF LOSS AS
START UP BUNESS ECONOMIC LOSS. FROM .2009. START UP QUEEN ESTHER
COMMERCIL FISHING. PUT OUT BUNESS BY B P OIL SPILLIN 2011 . DAMAGE BY . CLOSE:
WATER. GULF COAST ARE MOSS POINT MISSISSIPPI . PASCAGOULA MISSISSIPPI HORN
ISLAND MISSISSIPPI SOUND.E CT. LOSS ENJOYMENT

11

AS A RESULT 6 P OIL SPILL PLAINTIFF WAS DAMAGE. FAILED BUSSINESS . ECONOMIC
LOSS BY BP OIL SPILL PUT OUT BUSINESS 2011. YEAR. QUEEN ESTHER COMMERCIL
Case 2:10-md-02179-CJB-DPC D
ocument 25850-1 Filed 07/08/19 Page 18 of 89
Case 2:18-cv-11190-CJB-JCW Document 1-2 Filed11/16/18 Page 6 of 21

FISHER, 27 FOOT BOAT AND 32 FOOT BOAT. DAMAGE. LOSS ENJOYMENT BRENCH OF
CONTRACT

12

AS ARESULT OF B P OIL SPILL APRIL 20. 2010 . BLOW OUT OIL RIG. PLAINTIFF RICHARD
MCBRIDE. AND RICO MCBRIDE OWNER/OPERATOR. QUEEN ESTHER COMMERCIAL
FISHERMAN. OWNER/CAPITAN RICHARD MCBRIDE OWNER/CAPITAN RICO
MCBRIDE.OWNER/CREWMAN RICHARD MCBRIDE . OWNER/ CREWMAN RICO MCBRIDR
OWNER/ DECKHAND ,RICHARD MCBRIDE. OWNER/DECKHAND . RICO MCBRIDE. ALL
WAS SEAMAN. OWNER/ LEASER HOLDER, OR.SALER OF BOATS RICHARD MCBRIDE, ALL
THECATEGORIES OF CLAIM. PLAINTIFF RICHARD MCBRIDE LOSSES DAMAGES | SEEK
COMPENSATION FROM B P OIL SPILL FOR [ 8] EIGHT YEARS. LATER. GCCF. DEEPWATER
HORIZON DISTER B P OIL SPILL RIG AN EXPLOSION PLAINTIFF SUFFERED FROM
EXPOSURE FROM CHEMICALS BP OIL SPILL TOXIAS DAMAGE TO EYES BOTH LUNGS
HEART. ECT. LOSSES CHARTER BOAT FISHING SOME RECREATIONAL LOSS SHRIMPER.
CRABBER. LOSS ENJOYMENT BRENCH OF CONTRACT

i3

AS OFA RESULT OF 6 P OIL SPILL PLAINTIFF LOSSES DAMAGE . AT 6619 GREGORY STREET
MOSS POINT MS 39563 PROPERTY DAMAGE NEW HOME AND NEW CHURCH START BUILDING
2009.ALL LOSSES. FROM B P OIL SPILL. LOSSES ECONOMIC EARMING/PROFIT LOSSES ECT.

14.

AS OF RESUL OF B P OIL SPILL PLAINTIFF LOSSES DAMAGE . THE OWNER/OPERATOR OF THE
POWER HOUSE CHURCH OF GOD HOLY GHOST POWER .PO BOX 5101. MOSS POINT 39563 .

AND /PASTOR. C/O .RICHARO MCBRIDE.
4s
AS OF RESULT B P OIL SPILL PLAINTIFF LOSSES DAMAGE RENTAL INCOME .
16
AS RESUL B P OILSPILLIOSS DAMAGE REMOVAL AND CLEAN - UP COST JO TWO BOAT S

IN VOLVED IN THE VESSELS OF OPPORTUNITY PROGRAM DATE MAY,2010 . JUNE.2020 JULY
,2010, AT THE POINT OF PASCAGOULA MS. BOCKING, RIVER ROAD PASCAGOULA , MS. DOCKING
LOSS ENJOY MENT BRENCH OF CONTRACT .
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CJB-DPC Document 25850-1 Filed 07/08/19 Page 19 of
(19°F of 89

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. COMMERCIAL FISHER DATE DAMAGE ON OR ABOUT , MAY , 2010. JUNE 2010. JULY.2010.

MOTER RUNING HOT, EXPOSED TO HARMFUL CHEMICALS ODORS EMISSIONS DURING POST
EXPLOSION CLEAN-UP ACTINTIES ON STAND, BY . AT PASCAGOULA POINT . AND ON RIVER ROAD
PASCAGOULA (MISSISSIPPI, LOSS ENJOYMENT. BRANCH OF CONTRACT

18

AS OF BP OIL SPILL PLAINTIFF 1OSSES DAMAGE OWNER/OPERATOR 32 ,FOOTBAY
LINE,BOAT.THAT WAS DAMAGE INVOLVED IN CLEAN-UP. VESSEL OF OPPORTUNITY PROGRAM.
NAME OF BOAT . QUEEN ESTHER COMMERCAL FISHER BOAT WAS EXPOSED TO HAMFUL
CHEMICAL ODORS EMISSION DURING POST -EXPIOSION CLEAN-UP ACTIVTIES
DECONTAMINATING VESSELS.ON. STAND.BY AT DOCK PASCAGOULA POINT. RIVER ROAD
PASCAGOULA MISSISSIPPI. DAMAGE DATE MAY 2010 JUNE 2010 1ULY 2010. LOSS ENJOYMENT
BRENCH OF CONTRACT

19

AS OF BP OIL SPILL PLAINTIFF lOSSES DAMAGE OWNER/OPERATOR.2006, DODGE. RAM
4500 HEMI.INVOLVED IN THE CLEAN-UP VESSEL OF OPPORTUNITY PROGRAM. US TO
PULL, THE QUEEN ESTHER COMMERCAL FISHER 27 FOOT BOAT . TO THE WORK.DOCK.AT
THE POINT OF PASCAGOULA AND WORK DOCK, RIVER ROAD DOCK.PASCAGOULA
MISSISSIPPI.DAMAGE MOTOR' INSIDE DECONTAMINATING EXPOSED TO HAMFUL
CHEMICALS CONTACT WITH OIL IN SIDE ON STAND BY AT DOCK.DATE DAMAGE
MAY.2010. JUNE 2010. JULY.2018. LOSS ENJOYMENT

20

AS OF RESUL OF B P OIL SPILL PLAINTIFF LOSS DAMAGE. OWNER JOPERATOR 2007.
CADILLAC ESCALADE EXT. INVOLVED IN THE CLEAN -UP VESSEL OF OPPORTUNITY

PROGRAM TO. PULL THE QUEEN ESTHER COMMERCIAL FISHER BOAT TO DOCK’ POINT
OF PASCAGOULA AND RIVER ROAD DOCK WERE EXPOSED TO HAMFUL CHEMICAL
ODOERS OIL IN SIDE TRUCK FOOT ON BOOTS OILINSIDE . MOTOR MOUNTS FRONT
WHEEL ENGINE. ECT

‘ LOSS ENJOYMENT . BRENCH OF CONTRACT. OOV.
Case 2:10-md-02179-CJB-
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Case 2:18-cv-11190-CJB-JCW Document 1-2 Filed 11/16/18 Page 8 of 21

21

AS OFARESUL BP OIL SPILL THE COAST GUARD HAS NAME BP OIL SPILL THE
RESPONSABLE PARTY,UNDER SECT ION 2702-2704.[THE. OP A.J A OIL POLLUTION ACT
33 U.S. C. SECTION 2701) IMPOSE LIABILITY UPON 8.P. OIL SPILL.

PRAYER

LIN ALL INDIVIDUAL CLAIM ECONOMIC LOSSPLAINTIFF PRAYER THAT THIS HONORABLE
COURT GRANT PLAINTIFF RELIEF .

2. BUSINESS CLAIM ECONOMICE LOSS

3LOSS OF SUBSISTENCE USE NATURAL RESOUCES

4. REAL OR PERSON PROPERITY

5, COMMERCIAL FISHING LOSS

6. CHARTER BOAT LOSS

7. WETLAND LOSS OR FLOOD ZONE LOSS HUNTING LOSS

§.MEDICAL LOSS
9 ALL RELIEF. KNOW AND UNKNOW FOR ALL DAMAGE AND LOSSES TO. PLAI
RICHARD MCBRIDE TWO MILLION DOLLAR. 2.600.000 ’ Mf
{
/
richard mcbride 4318

donavan st moss point ms 39563 date 11-16 2018 . 228-369-5534
Case 2:10-md-02179-CJB-DPC Document 25850-1 Filed 07/08/19 Page 21 of 89
Case 2:18-cv-11190-CJB-JCW Document 1-2 Filed 11/16/18 Page 9 of 21

CERTIFICATE OF SERVICE

| RICHARD MCBRIDE HEREBY, CERTIFY THAT | HAVE HAND DELIVERED OR MAILED,

A TRUE AND CORRED COPY TO THE DEFENDANTS OF PLAINTIFF COMPLAINT AND
SWORN STATEMENT NO, 12--970..ORDER

COMPLIANCE WITH PTO 60
ae
Le ? 2018.

THIS THE DAY OF
U,S, DISTRICT COURT FOR THE B,P, OIL SPILL COUNSEL
EASTERN DISTRICT OF LOUISANA ATTN; J, ANDREW LANGAN
500 POYDRAS STREET KIRKLAND , ELLIS LLP
NEW ORLEANS,LA 70130 300 NORTH LASALLE ST,
SUITE 2400

CHICAGO , IL 60654

(

Li li fj OMMITTEE ATT;
RICHARD MCBRIDE STEVE HERMAN ORJIM ROY THE EXCHANGE CEN
4318 DONOVAN STREET, CENTRE. SUITE 2000. 93SGRAVIER STREET

MOSS POINT, 39563 NEW ORLEANS LA 70112

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Case 2:10-md-02179-CJB-DPC Document 25850-1 Filed 07/08/19 Page 22 of 89

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Case 2:10-md-02179-CJB-SS Document 16050-2 Filed 03/29/16 Page 1 of 2

EXHIBIT B

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

[PLAINTIFF] * CIVIL ACTION No. _
VERSUS * SECTION: J
[DEFENDANT(S)] * JUDGE BARBIER
* MAG. JUDGE SHUSHAN
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(NOTE: Use this form of caption when you already have filed an individual lawsuit and are only
filing the sworn statement. Make sure the civil action number of your lawsuit is included in the
caption.}
Case 2:10-md- ,
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Case 2:18-cv-11190-CJB-JCW Document 1-2 Filed 11/16/18 Page 11 of 21
Case 2:10-md-02179-CJB-SS Document 16050-1 Filed 03/29/16 Page 1of3

EXHIBIT A

Zn re: Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010
Civil Action No. 10-MD-2179-CJB-SS

SWORN STATEMENT FOR DISCLOSURES REGARDING REMAINING
NON-GOVERNMENTAL ECONOMIC LOSS AND PROPERTY DAMAGE CLAIMS (B14 CLAIMS)

mopee

Last Name FirstName =» Middle Name/Malden Suffix
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Current Mailing Address . City / State / Zip

2131% Donovan SU. Moss Ponts Ms, 39S¢3
Attorney Name and Firm Attorney E-Mail Address -

Any prior Mailing Address used by Plaintiff fram April 2010 to present?
OP aie Do nova”? ST. Miss Porat WS, PISS

lolo Evecierick $7. Moss Polat, Ms, Sdsle3

Any prior name used by Plaintiff from April 2010 te present?

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Biclard MeSricte

The last 4 digits of the Plaintiff's social security number (if individual) or full Tax ID number in the case

HSI 20-0) OF O3

Please Indicate your status:

Ww Progerly opted out of the Economic and Property Damages Settlement®
C) Not a member of the Economic and Property Damages Settlement Class
Ja/Member of the Economic and Property Damages Settlement Class

0 other New oldes ancl diel Chass

*if you opted out, 3 Copy of your valid opt-out form must be included with your service of this Exhibit A

B/19 Page 24 of 89

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Cagtagel2-Tete0AMA90-
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You are pursuing a claim against at least one 81. Defendant by way of (select off that apply):

() Joinder in the Amended B1 Master Complaint (Rec. Doc. 1128)}*

et Individual Action, (including 3 new action filed because plaintiff previously only had short form
joinder on fite), Eastern District of Loutstana Case No. .

JBinatvidual Action filed because plaintiff previously was part of mass-joinder Complaint; list both
prior Eastern District of Louisiana Case No. and new Individual Action

born /2—-F2 0 Ya o

A Other: /
ae Short vombtabackt ~.G Oda os icon snc be Included

* A copy of your time
with your service of this Exhibit A.

Presentment:

Did you, the plaintiff seeking relief, present this claim at least 90 days prior to filing a lawsuit or
joining the B2 Complaint?

Yes . No

if Yes, please Identify:

1. The program to which presentment was made by the plaintiff: @- ee C

2. The date of presentment (MM/DD/YYYY): Jf 26 / 0

3, The claim number(s) (if avallable).. [ QO O OL of EGO

4. Did you execute a release of your claims upon receiving payment through any clalms program:

VOS ee No_ 7

if you need more space to detall your response, please attach additional pages if necessary.
Make sure to indicate ihe questign you are_Co inuing to answer,

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Case 2:10-md-02179-CJB-DPC Document 25850-1 Filed 07/08/19 Page 26 of 89
Case 2:18-cv-11190-CJB-JCW Document1-2 Filed 11/16/18 Page 13 of 21
: Case 2:10-md-02179-CJB-SS Document16050-1 Filed 03/29/16 Page 3 of 3

i state under penaity of perjury that the foregoing Is true and correct. Executed on the following
date at the following location:

se sox 4%

Location'{City and State): MAb 3 [>
a AYP

Signature of Plaintiff (Plaintiff’s Attorney Cannot Sign on Plaintiff’s Behalf)

hick, gel Mb Leb :

Print Name

The service of this sworn statement and supporting information pursuant to this Order must
be on both Counse! for BP and the PSC on or before May 2, 2016. Service can be made via
United States mail at the following addresses:

Counsel for BP MOL 2179 Plaintiffs’ Steering Committee
Attn: J. Andrew Langan Attn: Steve Herman or Jim Roy

Kirkidnd & Ellis LLP The Exchange Centre, Sulte 2000

300 North LaSalle St, $33-Gravier Street

Suite 2400 New Orleans, LA 70112

Chicago IL. 60654

Claimants represented by counsel may additionally or alternatively serve the sworn statements
and any supporting information upon Plaintiffs’ Steering Committee and Counsel for BP via File
& ServeXpress (“F&S”). .
ee 2:10-md-02179-CJB-DPC Document 25850-1 Filed 07/08/19 Page 27 of 89
ase 2:18-cv-11190-CJB-JCW Documenti1-2 Filed 11/16/18 Page 14 of 21

CERTIFICATE OF SERVICE

RICHARD MCBRIDE HEREBY, CERTIFY THAT | HAVE HAND DELIVERED OR MAILED,

A TRUE AND CORRED COPY TO THE DEFENDANTS OF PLAINTIFF COMPLAINT AND
SWORN STATEMENT NO. 12--970..ORDER

COMPLIANCE WITH PTO 60
THIS THE He- DAY OF , 2018.

U,S, DISTRIGT COURT FOR THE B,P, OIL SPILL COUNSEL
EASTERN DISTRICT OF LOUISANA ATTN; J, ANDREW LANGAN
S00 POYDRAS STREET KIRKLAND , ELLIS LLP

300 NORTH LASALLE ST,
SUITE 2400
CHICAGO , IL 60654

MDL 2179 PLAINTIFF STEERING COMMITTEE ATT;

RICHARD MCBRIDE STEVE HERMAN OR JIM ROY THE EXCHANGE CEN
4318 DONOVAN STREET, CENTRE. SUITE 2000. 935GRAVIER STREET
MOSS POINT, 39563 NEW ORLEANS LA 70112

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Case 2:10-md-02179-CJB-DPC Document 25850-1 Filed 07/08/19 Page 28 of 89

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Case 2:10-md-02179-CJB-SS Document 16050-2 Filed 03/29/16 Page 1 of 1

EXHIBIT B

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

[PLAINTIFF] * CIVIL ACTION g-1119¢

VERSUS 7 * SECTION: J ¢

[DEFENDANT(S)] * JUDGE BARE
¥ MAG. JUDGE SHUSHAN
ING OFS A D 0

OTE: Use this form of caption when you already have filed-an individual lawsuit and are only
Ding the sworn statement. Make sure the civil action number of ¥: lawsuit is included in the
caption.]
Case 2:10-md-02179-CJB-DPC Document 25850-1 Filed 07/08/19 Page 29 of 89

Case 2:18-cv-11190-CJB-JCW Document1-2 Filed 11/16/18 Page 16 of 21
Case 2:10-md-02179-CJB-SS Document 16050-1 Filed 03/29/16 Page iof3

EXHIBIT A

In re: Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010
Civil Action No. 10-MD-2179-CJB-SS

SWORN STATEMENT FOR DISCLOSURES REGARDING REMAINING
NON-GOVERNMENTAL ECONOMIC LOSS AND PROPERTY DAMAGE CLAIMS (B1 CLAIMS)

Last Name First Name Middle Name/Malden Suffix
MEprle dicho | AME
Phone Number oS. 2 E-Mail Address

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223 D 7 VVC high uC fared =
Current Malling Addr: City / State / Zip

Attorney Name and Firm Attorney E-Mall Address

Z3I% Donne ss fous 32

W

Any prior Malling Address used by Plaingifi from April 2010 to present? gy Me
LLG frente fYUoosP?

Any prior name used by Plaintiff from April 2010 to present?

Lichprd /USDped 2

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The last 4 digits of the Plaintiff's social security number (If individual} or full Tax ID number In the case
of a business plaintiff:

EFAS S81 020203

Please Indicate your status:

Aroperly opted out of the Economic and Property Damages Settlement*
O Nota member of the Economic and Property Damages Settlement Class
ZF. Member of the Economic and Property Damages Settlement Class

0 Other: feted Class a> d C/A SS

“If you opted out, a copy of your valld opt-out form must be Included with your service of this Exhibit A

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eC _]
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Case 2:10-md-02179-CJB-DPC Document 25850-1 Filed 07/08/19 Page 30 of 89

Case 2:18-cv-11190-CJB-JCW Document 1-2 Filed 11/16/18 Page 17 of 21
Case 2:10-md-02179-CJB-SS Document 16050-1 Filed 03/29/16 Page 2 of 3

You are pursuing a claim against at least one 81 Defendant by way of (sefect aff that apply):
[) Joinder in the Amended B1 Master Complaint (Rec. Doc. 1128)*

A Individual Actton, (Including a new action filed because plaintiff previously only had short form
joinder on file), Eastern District of Louisiana Case No.

mel”

FP Individual Action filed because plaintiff previously was part of mass-joindar Complaint; list both
prior Eastern District of Louisiana Case No. and new Individual Action

Case No.
/5 other: O?, =~ bad sot

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( * A copy of your timely Short Form CA (afid any Plaintiff Profile Form s)) must be Included

with your service of this Eghibie A

Se,

Presentment:

Did you, the plaintiff seeking relief, present this claim at least 90 days prior to filing a lawsuit or
joining the Bi Complaint?

Yes . No

If Yes, please identify:

1, The program to which presentment was made by the plaintiff: GC Co i=

i Oo
2, The date of presentment (MM/DD/YYYY): _/. AOD
3, The claim number(s) (if available). | 2 @ 0 4 F410.

4. Did you execute a release of your claims upon receiving payment through any clams program:

no _V

Yes pO” ene neerrermae

ff you need more space to detail your response, please attach additional pages if necessary.
Make sure to indicate the question you ere continuing to answer.

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. V0. 2.-1o-CY-9 OBS

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nace 02179-CJB-DPC Document 25850-1 Filed 07/08/19 Page 31 of 89
Case 2: HS IER Sees Hockinenresise. Fried DeRe/16 Page 308 21

_ | state under penalty of perjury that the foregoing Is true and correct. Executed on the following
date at the following location:

pew LL MGL LE 020 ~
socatoh (cy a State): Mb pel! /M 7, 5 7 ? Ue Lf

Signature of Plaintiff (Plaintiff's Attorney Cannot Sign on Plaintiff's Behalf)

Lich mcd IVLt6 hid =

Print Name

The service of this sworn statement and supporting information pursuant to this Order must
be on both Counsel for BP and the PSC on or before May 2, 2026. Service can be made vis
United States mail at the following addresses:

Counsel for BP MDL 2479 Plaintiffs’ Steering Committee
Attn: J. Andrew Langan Attn: Steve Herman oF Jim Roy

Kirkland & Ellis LLP The Exchange Centre, Suite 2009

300 North LaSalle St, 935 Gravier Street

Suite 2400 New Orleans, LA 70112

Chicago IL 60654

Claimants represented by counsel may additionally or alternatively serve the sworn statements
and any supporting information upon Plaintiffs’ Steering Committee and Counsel for BP via File

& ServeXpress (“F&s”).
/ {

CERTIFICATE OF SERVICE
| RICHARD MCBRIDE HEREBY, CERTIFY THAT | HAVE HAND DELIVERED OR MAILED,

A TRUE AND CORRED COPY TO THE DEFENDANTS OF PLAINTIFF COMPLAINT AND
SWORN STATEMENT NO. 12--970..ORDER

Lo // , 2018,

COMPLIANCE WITH PTO 60
THIS THE LS ~ DAY OF -

U,S, DISTRICT COURT FOR THE B,P, Oil SPILL COUNSEL
EASTERN DISTRICT OF LOUISANA ATTN; J, ANDREW LANGAN
500 POYDRAS STREET KIRKLAND , ELLIS LLP
NEW ORLEANS,LA 70130 300 NORTH LASALLE ST,

SUITE 2400

\CAGO , 1L 60654 .
Li AM G
t / MDL 2179 PLAINTIFF STEERING COMMITTEE ATT;

AN OR JIM ROY THE EXCHANGE CEN

RICHARD MCBRIDE STEVE HERM
4318 DONOVAN STREET, CENTRE, SUITE 2000. 935GRAVIER STREET
MOSS POINT, 39563 NEW ORLEANS LA 70112

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Case 2:10-md-02179-CJB-DPC Document 25850-1 Filed 07/08/19 Page 33 of 89
Case 2:10-md-02179-CJB-SS Document 16050-2 Filed 03/29/16 Page tofl

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

[PLAINTIFF] Richard MeBredt_ CIVIL ACTION No. IX / / / 70 -

VERSUS * SECTION: J - 6-y-
[DEFENDANT(S)| ,, .. - * JUDGE BARBIER
Be. at SPU
* MAG. JUDGE SHUSHAN

FILING OF SWORN STATEMENT FOR DISCLOSURE OF BL CLAIMS

[NOTE: Use this form of caption when you already have filed an individual lawsuit and are only
filing the sworn statement. Make sure the civil action mumber of your lawsuit is included in the
caption.]
Case 2:10-md-02179-CJB-DPC Document 25850-1 Filed 07/08/19 Page 34 of 89
Case 2:10-md-02179-CJB-SS Document 16050-1 Filed 03/29/16 Paget of 3

EXHIBIT A

In re: Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010
Civil Action No. 10-MD-2179-CJB-SS

SWORN STATEMENT FOR DISCLOSURES REGARDING REMAINING
NON-GOVERNMENTAL ECONOMIC LOSS AND PROPERTY DAMAGE CLAIMS (Bi CLAIMS)

Last Name First Name Middle Name/Maiden Suffix
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Phone Number £-Mail Address

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) & med
BV

Current Malling Address | Sity 7 State /Zip
43/3 reonkV ao MWNOSS oat?

Attorney Name and Firm Attorney E-Mail Address

AE

Any prior Malling Address used by Plaintiff from April 2010 to present?

L517 Fledanet! PP PAbsS pout US, ecst sf
tires 1 35612,

from April 2010 to it?
Any prier name used by Plaintiff from April 20 presen As fee py Ef: ib Cou

Lichid Nude

The last 4 digits of the Plaintiff's social security number (if individual) or full Tax ID number in the case
of a business plaintiff: Zt S74 /

EtW!4 3 ~ fO2LOFB3

Please indicate your status:

A Properly opted out of the Economic and Property Damages Settlement*

C Not amember of the Economic and Property Damages Settlement Class
| Member of the Economic and Property Damages Settlement Class

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*if you opted aut, a copy of your valid opt-out form must be included with your service of this Exhibit A

Case 2:10-md-02179-CJB-DPC Document 25850-1 Filed 07/08/19 Page 35 of 89
Case 2:10-md-02179-CJB-SS Document 16050-1 Filed 03/29/16 Page 2 of 3

You are pursuing a claim against at feast one 81 Defendant by way of (setect all that apply):
C1 Joinder in the Amended B1 Master Complaint (Rec. Doc, 1128)*

Z Individual Action, (including a new action filed because plaintiff previously only had short form
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Fioinder on file), Eastern District of Loulsiana Case No.

individual Action filed because plaintiff previously was part of mass-joinder Complaint; list both
prior Easterf District of Louisiana Case No. and new Individual Action
Case No.

ike Unresé1red
* A copy of your timely Short Form Joinder(s) (and any Plaintiff Profile Form(s)) must be included
with your service of this Exhibit A.

Presentment:

Did you, the plaintiff seeking relief, present this claim at least 90 days prior to filing a lawsuit or
Joining the Ba C

‘omplaint?
Yes L » No .

If Yes, please identify:

4, The program to which presentment was made by the plaintiff: GC ! C Cc /

2. The date of presentment (IMM/DD/YYYY): / | BO ] O
3. The claim number(s) {if available). / 060 / 4S™ IO.

4. Did you execute a release of your claims upon receiving payment through any claims program:

Yes . No La :

ff you need more space to detail your response, please attach additional pages if necessary.
Make sure to indicate the question you are continuing to answer. .
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Case 2'10-md-02179-CJB-SS Document 16050-1 Filed 03/29/16 Page 3 of 3

I state under penalty of perjury that the foregoing is true and correct. Executed on the following
date at the following location:

Date: W/a7 aor ane 2018 od lu
Location (City and State): Ly 3 / ‘ Loevrv 5 xy Me

Wis, 3
AD MES sca
ignature of Plaintiff (Plaintiff's Attorney Cannot Sign on Plaint
Richard Mpride

Print Name

The service of this sworn statement and supporting information pursuant to this Order must
be on both Counsel for BP and the PSC on or before May 2, 2016. Service can be made via
United States mail at the foflowing addresses:

Counsel for BP MDL 2179 Plaintiffs’ Steering Committee
Attn: J. Andrew Langan Attn: Steve Herman or Jim Roy

Kirkland & Eltis LLP The Exchange Centre, Suite 2000

300 North LaSalle St, 935 Gravier Street

Suite 2400 New Orleans, LA 70112

Chicago IL 60654

Claimants represented by counsel may additionally or alternatively serve the sworn statements
and any supporting Information upon Plaintiffs’ Steering Committee and Counsel for BP via File
& ServeXpress (“F&S”).
Case 2:10-md-02179-CJB-DPC Document 25850-1 Filed 07/08/19 Page 37 of Bo NS,

WN RE: OIL SPILL by “Deepwater Horizon” ” 7

DIRECT FILING SHORT FORM'

Authorized by Order of the Court, Civil Action No, 10 md 2179 Rec, Doc, 982
{Contes of said Order having also been filed In Civil Actions Ne. 10-8888 and tearrt)

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Chai a a Ao sSiiDER Where ANSURRCINTERE
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By cubrattting thie doontnn - em asserting a claim in Complaint and Petition of Triten Asset Leasing Gui ot et
al., No. 10-2771; adopt and incorporate the (Maater Anewer [Rec. Doo. 244] to the Complaint and Petition of Triton
Aseat Leasing Gmbh, at al, in No. 10-2771; and/or Intervene into, join and otherwise adopt the Master Compiaint
(Rec. Qac. $79] for ptivate economic loseee (St Buntite’} fited in MDL No. 2179 (10 md 2178); and/or Intervene
into, join and otherwise adopt the Master Complaint (Rep. Doc. 881] for post-explosicn Injuries (“BS Bundle”)
filed In MDL No. 2179 (10:md 2178).

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* This form should be filed with the U.S, Cistrict Court for the Eastern District of Loulstana, 500 Poydras Street, New Ortesna, Louisiana FOLBO, in Civil Action No.

, 10-8888. While this Direct Filing Short Fornh Is to be filed In CA No, 10-8988, by priar ordar of the Court, (Rec. Dec. 246, CA, No, 10-2771 and Rec. Boe, 962 in MOL

« 2479), the filing of this form tn C.A, No. 28888 shail be deemed to be simultaneously filed In C.A, 10-2771 and MOL 2179. Plainttff Liason Counsel, after being
‘notified efectroniezily by the Clerk of Court ofthe filing of talsShort Form, shall promptly serva this form through the Laxis Nexis service systam on Defansa Liaison,

The fillag of this Dect Fig hort Form hal alco core inl ofthe oqubcrnant of Plaintiff to fle a Platatift Profiie Ferm.

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Brief Description:

1. For involving real eatatorprdpe loss, property damage and loss of subsistence use clalme, desoribe the nature of the injury. For claims
estate/property, include the property location, type of property (residentialcommercial), and whether physical
damage contre For claine relating to fishing of any type, include the type and tecation of fishing grounds at issue.

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2. For personal injury claims, describe the injury, how and tin it wae eustained, and identify all health care providers and
employers 2008 to present and complete authorization forme for each.

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The filing of this Direct Filing Short Form shall alco serve in Nau of tha requirement of a Platntift to file a Plaintitt Pratile Porm,

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Please check the ea) below thet you think apply to you and your ofafms:
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Nomdovernmental Econon is (Biundic Bt

1. Commercial fisherman, ehrimper, crabber, or oysterman, or the ownar and operator of a business fnvelving fishing, shrimping,
crabbing or oystering.
C] 2, — Beafcod processer, distrfbutor, retal and seafood market, or restaurant ownes and opsrater, or an employee theredt.

ZB 3. Recreational busihess owner, operstor or worker, including a recreational fishing business, commercial guide service, or charter
fishing business who eam thelr fiving through the use of the Gulf of Mexico.

Cl 4. Commercial business, business owner, operator or workar, including commercial divers, offehore oilfield service, repair and
supply, real estate agents, and supply companies, or an employee thereof,

1 5. Recreational sport fehermen, recreational diver, beachgoer, or recreational beater.
C18. — Plantand dook worker, including commercial seafood plant worker, longehoreman, or ferry operator,

[17 Owner, lessor, or lessee of real property alleged to be damaged, harmed or Impacted, physically or economically, Including
lessees af oyster beds.

(1 8 —_ Hotel owner and operator, vacation rental owner and agent, or aif those who eam felt fving from the tourlsm Industry.
(J @ Bank, financial institution, or retail business that suffered losses as @ result of the spill.

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/o 1. Boat captain or créw involved in the Vessels of Opportunity program.
Ya 2 Worker involved in decontaminating veseets that came into contact with oll and/or chemnteal dlapersants,

8, Vessel captain or drew who was not volved in the Vessels of Opportunity program but who were exposed to harmful chemisats,
odors and emissions during poet-exptosion clean-up aativities.

11 4 Clean-up worker of beach peraonnel involved In clean-up activities along sherelines and intercoastal and intertidal zones.
5. Resident who lived or works in close proximity to coastal waters.
16. Other,

Both BP and the Guif Coast Clalme Facility (@CCF") are hereby authorized to release to the Defendants In MDL
2179 all information and documents submitied by above-named Plaintiff and Information regarding the status of any
payment on the claim, subjdct to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made avaliable to both
the Plaintiff (or his attorney # applicable) filing this form and PSC through PlaintiffLiaison Counsel.

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it yas, BP Claim No.: it yes, Claimant identification No.:
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Pissge chevk the box{es) b below ats shin apply to yous and Your of ctainnss

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owner and operator of a business involving fiehing, shrimping. lengshoreman, or farry operator.

§ OF oyelenng (C1 Owner, leaor, of lessee of real property alleged to be damaged,
(J Seafood processor, distributor, retall and seafood market, or harmed er Impacted, phyaloally or sconomically, Including lessees of fr '
restaurant owner and operator, dr an employee thereof. oyster beds.

# Recreational Gusiness owner, : : operator or werker, Including a [J Hotel owner and operator, vacation rental owner and agent, or all
recreational fishing business, rng quide service, or charter thosa who eam thelt living from the tourism industry.
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recreational boatar.

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Case 2:10-md-02179-CJB-DPC Document 25850-1 Filed 07/08/19 Page 42 of 89

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fo |
CERTIFICATE OF SERVICE
| RICHARD MCBRIDE HEREBY, CERTIFY THAT | HAVE HAND DELIVERED OR MAILED,

A TRUE AND CORRED COPY TO THE DEFENDANTS OF PLAINTIFF SWORN STATENMENT
OT.B.P, TO PTO. 64 AND PTO 60

COMPLIANCE WITH PTO,65
mais tHe — 20. vav or ~LVZ 2. 2018,

U,S, DISTRICT COURT FOR THE B,P, Cl. SPILL COUNSEL
EASTERN DISTRICT OF LOUISANA ATTN; J,ANDREW LANGAN
500 POYDRAS STREET KIRKLAND , ELLIS LLP

NEW ORLEANS,LA 70130 300 NORTH LASALLE ST,

SUITE 2400

CHICAGO , IL 60654

MDL 2179 PLAINTIFF'S STEERING COMMITTEE .
SATTN.STEVEN J. HERMAN. HERMAN.KATZ.AN

COTLAR.LLP. 820 O'KEEFE AVENUE.

NEW ORLEANS LA, 70113

RICHARD MCBRIDE
4318 DONOVAN STREET,
MOSS POINT, 39563
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Case 2:10-md-02179-CJB-DPC Document 25850-1 Filed Gaps Page. 43 of 89
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EXHIBIT A

In re: Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010
Civil Action No. 10-MD-2179-CJB-SS

SWORN STATEMENT REGARDING GENERAL MARITIME LAW CLAIMS (B1 CLAIMS)

Last Name First Name Middle Name/Maiden Suffix

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Business Name hel Last 4 digits of Plaintiffs social security number (if
Go ce. Exther CommctbFi individual) or full Tax iD number {if business plaintiff)

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MDL 2179 Member Case Number Attorney Name and Firm

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Did you own or otherwise hold a proprietary interest* in property that was physically damaged by oil
from the Deepwater Horizon or Macondo well or by the spill response?

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Identify the nature and location of the property:
. , oP? Bee <p Land F/saa

Identify the nature of the alleged damage: Letadel A 7200s os SL Ch ureh. POOF

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identify the date(s) of the alleged damage: .
ADL, (dia, dble, ~Wiby. 2010 SNC, 90/0 . Td/y-Lo1e

* Asa general rule, you held a proprietary interest in property if you owned it or had actual possession or control

of the property. Y
eS Oums wep Roped ale Sole
Did you work as a commercial fisherman in or near the Guif of Mexico on Gr after April 40, 2010?

Yes ONo — ifyes: nt AO
X £0 Spot fscht [GI 7O
Identify the dates on which you hack as a commercial fisherm nou Pht BAC:
frLt Ccrk of fin 4s 2. 5 <2 «Loftus BD

Identify the employer(s) (if any) for which you worked as a commercial fisherman: C2 Ki Cr

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| state under penalty of perjury that the foregoing is true and correct. Executed on the
following date at the following location:

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Location (City and State): Lf, g / 9 LO fl aye! Gf- Jb = P

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/Signatu re of Plainti#é-( Plaintiff's Attorney Cannot Sign on Plaintiff's Behalf)

Lichard Mapu d 2:

Print Name

The service of this sworn statement and supporting information pursuant to this Order must
be on both Counsel for BP and the PSC on or before April 5, 2017. Service can be made via
United States mail at the following addresses:

Counsel for BP MDL 2179 Plaintiffs’ Steering Committee
Attn: J. Andrew Langan Attn: Steven J. Herman

Kirkland & Ellis LLP Herman, Herman, Katz & Cotlar, LLP

300 North LaSalle St, 820 O’Keefe Avenue

Suite 2400 New Orleans, LA 70113

Chicago IL 60654

Claimants represented by counsel may additionally or alternatively serve the sworn
statements and any supporting information upon Plaintiffs’ Steering Committee and Counsel
for BP via File & ServeXpress (“F&S”).
Case 2:10-md-02179-CJB-DPC Document 25850-1 Filed 07/08/19 Page 46 of 89

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CERTIFICATE OF SERVICE
| RICHARD MCBRIDE HEREBY, CERTIFY THAT 1 HAVE HAND DELIVERED OR MAILED,

A TRUE AND CORRED COPY TO THE DEFENDANTS OF PLAINTIFF SWORN STATENMENT
OT .B.P, TO PTO. 64 AND PTO 60

COMPLIANCE WITH PTO,65
THIS THE 3 DAY OF LOE» 2018.

U,S, DISTRICT COURT FOR THE B,P, OIL SPILL COUNSEL
EASTERN DISTRICT OF LOUISANA ATTN; L ANDREW LANGAN
500 POYDRAS STREET KIRKLAND , ELLIS LLP
NEW ORLEANS,LA 70130 300 NORTH LASALLE ST,

SUITE 2400
CHICAGO, IL 60654

MDL 2179 PLAINTIFF'S STEERING COMMITTEE .
sATTN.STEVEN J, HERMAN. HERMAN.KATZ.AN

Kick

RICHARD MCBRIDE

COTLAR.LLP. 820 O'KEEFE AVENUE.

NEW ORLEANS LA. 70113

4318 DONOVAN STREET,
MOSS POINT, 39563
Case 2:10-md-02179-CJB-DPC Document 25850-1 Filed 07/08/19 Page 47 of 89

EXHIBITB fOTO: bf

TED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

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Case 2:10-md-02179-CJB-DPC Document,25850-1 Filed 07/08/19 Page 48 of 89
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EXHIBIT A

Tn re: Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulfof Mexico, on April 20, 2010
No. 10-MD-2179

PTO 65 VERIFIED STATEMENT REGARDING CAUSATION AND DAMAGES {B1 CLAIMS)

Last Name First Name Middle Name/Malden Suffix

Meade Picked | rner

Business Name Last 4 digits of Plaintif’s social security number (if
Pie A ther individual) or full Tax ID number (If business plaintiff)

use eel FWY, 33-6207 OF

MDL 2179 Member Case Number Attorney Name and Firm

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All “Remaining 81 Plaintiffs” {as defined in PTO 65) must answer the questions below regarding
damages and causation, Responses must be as specific and accurate as practicable and shall be
given under penalty of perjury. itis a violation of PTO'65 to submit an answer that is, for example,
generic, vague, evasive, or misleading. The plaintiff (not the plaintiff's attorney) must sign an d
date the verification and attestation at the end of this form. Responses shall be filed In the
record for the plaintiff's individual lawsult (not the master docket for MDL 2179) by no later than
April 11, 2018.

You may attach additional pages to this form if you need extra room to answer a question. Make
sure to indicate the question you are continuing to answer.
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Question 1; Describe specifically the compensatory damages that you claim in your lawsuit, including
the nature of the damage, the date(s} of the damage, the amount of the damage, and the calculations
used to arrive at that amount.

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| Question 2: Describe Speelfically the compensatory damages that you claim in your lawsuit, including |

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used to ane at that amount, date(s} of the damage, the amount of the damage, and the calculations

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| Quastion 2: Destribe specifically the compensatory damages that you claim in your lawsult, including

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[ Question 2: Describe spacifeatty the compensatory damages that you clam In your lawsuit, Induding

| the nature of tke damage, the data(s} of the damage, the amount of the damage, and the catculetions
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| Question 4: Describe specifics
the nature of the damage, the ditesh ot damages that you claim in your lawsule including
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Question 2: Describe Specificalt
response to Question no. 1,

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Question 3: Describe specifically how the Deepwater Horizon/Macondo Well Incident and oll
spilt caused the damages you allege In response to Question no. 1.

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Case 2:10-md-02179-CJB-JCW Document 23825-1 Filed 01/11/18 Page 5 of §

Question 4: Do you have at this time an expert who will opine as to any of your responses to

the above questions? (Yes or No)
XeS

*

By signing below, | declare and attest under penalty of perjury pursuant to 28 U.S.C. § 1746 that
the answers provided to the above four questions are true and correct, and | specifically declare
and attest under penalty of perjury pursuant to 28 U.S.C. § 1746 that the damages described In

response to Question no. 1 were caused by the Deepwater Herizon/Macondo Well Incident and
oil spill.

Executed on the following date at the following location:

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Location (City and State): “/ 3 { ? LONLNV W e/ G3 ‘
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Signature of Pl

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“Plaintiff's Attorney Cannot Sign on Plaintiff's Behalf, For businesses, the CEO, CFO, President,
Owner, or similar senior corporate officer must sign.

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Print Name

Title/Position (if signed on behalf of a business or other entity)

The verifled statement, must be filed into the record of the plaintiff's Individual | it (as
Opposed to the master docket for MDL 2179) no later than April 11, 2018.
Case 2:10-md-02179-CJB-DPC Document 25850-1 Filed 07/08/19 Page 59 of 89

CERTIFICATE OF SERVICE

| RICHARD MCBRIDE HEREBY, CERTIFY THAT | HAVE HAND DELIVERED OR MAILED,

A TRUE AND CORRED COPY TO THE DEFENDANTS OF PLAINTIFF SWORN STATENMENT
OT.B.P. TO PTO. 64 AND PTO 60

COMPLIANCE WITH PTO,65
THIS THE ~—w--s-- DAY OF —-Aeninmennernrnnne, 2018,

U,S, DISTRICT COURT FOR THE B,P, OIL SPILL COUNSEL
EASTERN DISTRICT OF LOUISANA ATTN; J, ANDREW LANGAN
500 POYDRAS STREET KIRKLAND , ELLIS LLP
NEW ORLEANS,LA 70130 300 NORTH LASALLE ST,

SUITE 2400
CHICAGO, IL 60654

MDL 2179 PLAINTIFF'S STEERING COMMITTEE .
iATTN.STEVEN J. HERMAN. HERMAN.KATZ.AN

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RICHARD MCBRIDE

COTLAR.LLP. 820 O'KEEFE AVENUE.

NEW ORLEANS LA. 70113

4318 DONOVAN STREET,

MOSS POINT, 39563
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iubstantial improvement requirements 5 peely.
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Accessory Structure___ Repair__ improvement Demolish_ Logging Fill Grade__

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Elevation Certificates: Const. drawings radar Const. Finished Const.__

fhe following certificates are required and must be submitted within the specified time frame.

4, Elevation Certificate, based o construction drawings, certified by a registered land surveyor or professional
engineer, that the lowest floor of structure will be constructed at or not Jess the Base Flood Elevation.

4. Elevation Certificate, as built, certified that the lowest floor of structure has been constructed to not Jess than the

Base Flood Elevation. Submit prior to any vertical construction.
§. Elevation Certificate, based on finished construction, certified that the lowest floor is at or above the Base Flood

Elevation. Submit after final inspection but prior to Certificate of Occupancy issuance.
4, Flood- proofing Certificate, certified by a professional engineer or architect, submitted at the time of completion of

lowest floor.
V-Zanes only, cofiiontion afthe spexmmuciue be submitted within 7 days of completion.
prtificati ners and s e design, must be submitted with application.

the issuance of the permit or start of construction. -
The proposed development includes an alteration of a watercourse and a Jetter or man revision issued by FEMA.

This documentation must be submitted within 6 months of completion.

U.S. Army Corps of Engineers Dept. of Natural Resources
U.S. Fish & Wildlife Dept, of Environmental Protection

Environmental Protection Agency Dept. of Public Health

- U.S. Coast Guard Dept. of Transportation
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HOSPITAL INSURANCE No
SUPPLEMENTAL INSURANCE YES
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For tax fore» instructions, and publications, visit wa. bra gov or
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Jackson County, Mississippi
** Master Summary Display **

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* Owner/Address *

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* Legal Description *

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Town: 7 Rang: 5 Sect: 29 CS8ec:

4-TO POB DB 1437-633

5-DB 1467-684 DB 1470-503
6-DB 1550-643 DB 1629-820

1-COM E/M MILL ST & N/M GREGORY ST
2-W 510.87' TO POB W 447.13' N
3-543! EB 447' M/L 8 543’ M/L

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Case 2:10-md-02179-CJB-DPC Document 25850-1 Filed 07/08/19 Page 83 of 89

EX. S(

“ Case 2:10-md-02179-CJB-DPC Document 25850-1 Filed 07/08/19 Page 84,01 89
we 5

STATE OF MISSISSIPPI
COUNTY OF JACKSON

Personally appeared before me, the undersigned authority In and for the sforeasid
County and State, Ricky L. McBride, who hereby acknowledge that he signed, exeeated and delivered
the above and foregoing instrument oa the date thereof and for the use and purposes therein
mentisued as bis voluntary act and deed.

GIVEN ander may hand and official seal, this the 1 Day of January, 2007

Case 2:10-md-02179-CJB-DPC Document 25850-1 Filed 07/08/19 Page 85,of 89

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‘ COUNTY OF JACKSON

Corr ey C Set 2'W 810,87 to POB W 447,
: 1» Com E/M Mill St. & N/M Gregory St.
rom 7 Dats e38 (5399) W 190.60 4 180 to POB DB 1437-870 -CiS! Map 752.29-01

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County, Mississippi. :

This belng the sume as that conveyed by instrument dated March 26, 1966, recorded tn Rook 259,
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Sols Propiistor information
Legal name: RICO OMCHSINE BR
Treie namefDoing business as: QUEEN ESTHER COMMERCIAL FISHING
County: dACKSON
State/Tenttory: "ag
Stertdats. MAY 2065
Addresses
Physical Location: 4819 DONOVAN ST
MOSS PORT MS 39583
Phone Number: 228-285-1399
Responsible Party .
Nama: RICCO MCBRIDE sR
SSNITIN: XOL-E889:
Employee i:formation
Date weges or annuities will be patd: MAY 2009
Number-of agricultural employess: 4
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Tax Liabifty of $1000 or tess dufing calendar 4p
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Owns 6 68.000 perms or greater
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JB-DPC Document 25850-1 Filed 07/08/19 Page 87 of 89

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